            Case 2:20-cr-20318-SJM-APP ECF No. 10, PageID.15 Filed 06/02/21 Page 1 of 1
(EDMI 1/) Order 5HJDUGLQJ%UDG\0DWHULDOV



                               UNITED STATES DISTRICT COURT
                                                        for the
                                              Eastern District of Michigan

                  United States of America                 )
                             v.                            )      Case No. 20-20318
                                                           )
              RICARDO ZAMORA-LOPEZ
                                                           )
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                                     ORDER 5(*$5',1*%5$'<0$7(5,$/6

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Date: June 2, 2021                                         s/Anthony P. Patti
                                                          Judicial Officer’s Signature


                                                           Anthony P. Patti, U.S. Magistrate Judge
                                                          Printed name and title
